                                           Case 5:21-cv-00844-XR Document 747-19 Filed 09/01/23 Page 1 of 9
                                                                                LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 19, 2023


ID Number     Custodian     Date          Application             Subject                 Author                     To                     CC                   Filename              Treatment               Claim                     Privilege Statement

                                                                                                                                 Electionintegrity202
                                                                                                                                                                                                                            Election complaint submitted 11/21/23 regarding
                                                             2022 Texas Midterm                             aflacjuliekellog@gma           2;         2022 Texas Midterm
DOC_0805430   Texas OAG   11/21/2022     Outlook Email                                Laura Gutierrez                                                                    Privileged - Withhold              Investigative     potential voter suppression in 2022 General
                                                                  Elections                                         il.com       elections@sos.texas.g Elections (1).msg
                                                                                                                                                                                                                                                Election.
                                                                                                                                    ov; Director TX
                                                                                                                                                                                                                            Election complaint submitted 11/21/23 regarding
DOC_0805431   Texas OAG   11/21/2022   Microsoft Word 2016                          Microsoft Office User                                                        Doc2.docx         Privileged - Withhold    Investigative     potential voter suppression in 2022 General
                                                                                                                                                                                                                                                Election.
                                                                                                                                 elections@sos.texas.g
                                                                                                                                                                                                                            Election complaint submitted 11/21/23 regarding
                                                             2022 Texas Midterm                             aflacjuliekellogg@gm          ov;          2022 Texas Midterm
DOC_0805432   Texas OAG   11/21/2022     Outlook Email                                Laura Gutierrez                                                                     Privileged - Withhold             Investigative     potential voter suppression in 2022 General
                                                                  Elections                                        ail.com       Electionintegrity202     Elections .msg
                                                                                                                                                                                                                                                Election.
                                                                                                                                           2
                                                                                                                                                                                                                            Election complaint submitted 11/21/23 regarding
DOC_0805433   Texas OAG   11/21/2022   Microsoft Word 2016                          Microsoft Office User                                                        Doc3.docx         Privileged - Withhold    Investigative     potential voter suppression in 2022 General
                                                                                                                                                                                                                                                Election.
                                                                                                                                 Electionintegrity202
                                                                                                                                                                                                                            Election complaint submitted 11/21/23 regarding
                                                             2022 Voter Midterm                             aflacjuliekellog@gma           2;          2022 Voter Midterm
DOC_0805434   Texas OAG   11/21/2022     Outlook Email                                Laura Gutierrez                                                                     Privileged - Withhold             Investigative     potential voter suppression in 2022 General
                                                                  Elections                                         il.com       elections@sos.texas.g   Elections .msg
                                                                                                                                                                                                                                                Election.
                                                                                                                                    ov; Director TX
                                                                                                                                                                                                                            Election complaint submitted 11/21/23 regarding
DOC_0805435   Texas OAG   11/21/2022   Microsoft Word 2016                          Microsoft Office User                                                        Doc1.docx         Privileged - Withhold    Investigative     potential voter suppression in 2022 General
                                                                                                                                                                                                                                                Election.
                                                                                                                                    Electionintegrity202
                                                                                                                                              2;
                                                                                                                                    elections@sos.texas.g
                                                                                                             Julie Kellogg (RNC                                AMIGOS DEL                                                   Election complaint submitted 11/2/22 regarding
                                                               AMIGOS DEL                                                                    ov;
DOC_0805436   Texas OAG   11/2/2022      Outlook Email                                       AI               Election Integrity                              VALLE DONNA          Privileged - Withhold    Investigative   potential election irregularities in 2022 General
                                                             VALLE DONNA TX                                                         jkellogg@texasgop.or
                                                                                                                    Team)                                        TX.msg                                                                          Election.
                                                                                                                                              g;
                                                                                                                                    karen@monicaforcon
                                                                                                                                           gress us
                                                                                                                                                                2022 POLL
                                                                                                                                                                WATCHING                                                    Election complaint submitted 11/2/22 regarding
DOC_0805437   Texas OAG   11/2/2022    Microsoft Word 2016                                  user                                                               AMIGOS DEL          Privileged - Withhold    Investigative   potential election irregularities in 2022 General
                                                                                                                                                               VALLE DONN                                                                        Election.
                                                                                                                                                                 TX.docx
                                                                                                                                                                                                                            Election complaint submitted 10/28/22 regarding
                                                                Dear Election                               Electionintegrity202 Movin-OnTX; Jackie            Dear Election
DOC_0805438   Texas OAG   10/27/2022     Outlook Email                               Jackie Hunt Schiff                                                                        Privileged - Withhold        Investigative    potential obstruction of poll watchers in 2022
                                                               Integrity Team                                         2             Hunt Schiff             Integrity Team.msg
                                                                                                                                                                                                                                           General Election.
                                                                                                                                                                                                                            Election complaint submitted 10/28/22 regarding
                                                                                                                                                             Oct 26 GT CityHall
DOC_0805439   Texas OAG   10/27/2022   Microsoft Word 2016                           Jackie Hunt Schiff                                                                         Privileged - Withhold       Investigative    potential obstruction of poll watchers in 2022
                                                                                                                                                             Pollwatching.docx
                                                                                                                                                                                                                                           General Election.
                                                                                                            elections@sos.texas.g
                                                             Election Complaint-                                                                            Election Complaint-                                             Election complaint submitted 11/29/22 regarding
                                                                                                                     ov;
DOC_0805440   Texas OAG   11/29/2022     Outlook Email       Deborah Lindstrom-      Debbie Lindstrom                                                       Deborah Lindstrom- Privileged - Withhold        Investigative     potential voter suppression in 2022 General
                                                                                                            Electionintegrity202
                                                                   Pt 2 of 3                                                                                   Pt 2 of 3.msg                                                                    Election.
                                                                                                                      2
                                                                                                                                                            VoterSuppression-                                               Election complaint submitted 11/29/22 regarding
DOC_0805441   Texas OAG   11/29/2022   Adobe Acrobat (PDF)                                                                                                  DeborahLindstrom- Privileged - Withhold         Investigative     potential voter suppression in 2022 General
                                                                                                                                                                 Pt2.pdf                                                                        Election.
                                                                                                            elections@sos.texas.g
                                                                                                                                                             Election Complaint                                             Election complaint submitted 11/2/22 regarding
                                                             Election Complaint                                      ov;
DOC_0805442   Texas OAG   11/1/2022      Outlook Email                                  Chris Carlin                              Mr. Chris N. Carlin           of Chris Noel   Privileged - Withhold       Investigative   potential improper denial of election records for
                                                             of Chris Noel Carlin                           Electionintegrity202
                                                                                                                                                                 Carlin.msg                                                             2022 General Election.
                                                                                                                      2
                                                                                                                                                            HAYS_20221101_CA
                                                                                                                                                               RLIN_Election                                                Election complaint submitted 11/2/22 regarding
DOC_0805443   Texas OAG   11/1/2022    Adobe Acrobat (PDF)                            Dustin Kolodziej                                                        Complaint to the      Privileged - Withhold   Investigative   potential improper denial of election records for
                                                                                                                                                             Texas Secretary of                                                         2022 General Election.
                                                                                                                                                            State (filing copy).pdf

                                                                                                            elections@sos.texas.g
                                                                                                                       ov;
                                                                                                             Electionintegrity202
                                                                                                                        2;
                                                                                                             election@texasgop.or
                                                                                                                                                                                                                            Election complaint submitted 11/17/22 regarding
                                                             Election Complaint                                g; Debbie Adams;                              Election Complaint
DOC_0805444   Texas OAG   11/17/2022     Outlook Email                                   John Clark                                                                             Privileged - Withhold       Investigative     potential obstruction of poll watcher in 2022
                                                                   to SOS                                        RNC Election                                    to SOS.msg
                                                                                                                                                                                                                                            General Election.
                                                                                                                Integrity Team;
                                                                                                            julie@truetexasprojec
                                                                                                            t.com; Sam Brannon;
                                                                                                            TrueTexasElections@
                                                                                                                  starmail.com
                                                                                                                                                                                                                            Election complaint submitted 11/17/22 regarding
DOC_0805445   Texas OAG   11/17/2022   Adobe Acrobat (PDF)                                                                                                        Mary.pdf         Privileged - Withhold    Investigative     potential obstruction of poll watcher in 2022
                                                                                                                                                                                                                                            General Election.
                                                                                                                                                                                                                            Election complaint submitted 11/17/22 regarding
DOC_0805446   Texas OAG   11/17/2022   Adobe Acrobat (PDF)                               John Clark                                                           Page 2 and 3.pdf     Privileged - Withhold    Investigative     potential obstruction of poll watcher in 2022
                                                                                                                                                                                                                                            General Election.
                                                                                                                                                                                                                            Election complaint submitted 11/17/22 regarding
DOC_0805447   Texas OAG   11/17/2022   Adobe Acrobat (PDF)                                                                                                      Sig page.pdf       Privileged - Withhold    Investigative     potential obstruction of poll watcher in 2022
                                                                                                                                                                                                                                            General Election.




                                                                                                                       1 of 9
                                           Case 5:21-cv-00844-XR Document 747-19 Filed 09/01/23 Page 2 of 9
                                                                              LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 19, 2023


ID Number     Custodian     Date          Application             Subject               Author                  To                     CC                Filename             Treatment              Claim                     Privilege Statement

                                                                                                       elections@sos.texas.g                            Fw_ Election
                                                                Fw: Election                                                                                                                                      Election complaint submitted 12/9/22 regarding
                                                                                                                ov;                                  Complaint- Deborah
DOC_0805448   Texas OAG   12/9/2022      Outlook Email       Complaint- Deborah     Debbie Lindstrom                                                                     Privileged - Withhold    Investigative     potential voter suppression in 2022 General
                                                                                                       Electionintegrity202                           Lindstrom- Pt 2 of
                                                             Lindstrom- Pt 2 of 3                                                                                                                                                     Election.
                                                                                                                 2                                          3.msg
                                                                                                                                                      VoterSuppression-                                           Election complaint submitted 12/9/22 regarding
DOC_0805449   Texas OAG   12/9/2022    Adobe Acrobat (PDF)                                                                                           DeborahLindstrom- Privileged - Withhold      Investigative     potential voter suppression in 2022 General
                                                                                                                                                           Pt2.pdf                                                                    Election.
                                                                                                       elections@sos.texas.g
                                                              General Election                                  ov;                                   General Election                                            Election complaint submitted 11/11/22 regarding
DOC_0805450   Texas OAG   11/10/2022     Outlook Email       Edinburg Elections     Laura Gutierrez    Electionintegrity202                          Edinburg Elections Privileged - Withhold     Investigative    potential curbside voting by ineligible voters in
                                                              Annex Building                           2; Director TX; Julie                        Annex Building .msg                                                        2022 General Election.
                                                                                                              Kellogg
                                                                                                                                  Debbie Adams;
                                                                                                                               elections@sos.texas.g
                                                             Hays Co-John Clark-                                                                      Hays Co-John Clark-
                                                                                 Kathy Haigler (RNC                                      ov;                                                                      Election complaint submitted 11/17/22 regarding
                                                               PW Obstruction                                                                           PW Obstruction
DOC_0805451   Texas OAG   11/17/2022     Outlook Email                            Election Integrity       John Clark          Electionintegrity202                       Privileged - Withhold   Investigative     potential obstruction of poll watcher in 2022
                                                             Election Complaint                                                                       Election Complaint
                                                                                        Team)                                  2; Election Integrity;                                                                             General Election.
                                                                   to SOS                                                                                 to SOS.msg
                                                                                                                               Julie; Sam Brannon;
                                                                                                                                Truetexaselections
                                                                                                       elections@sos.texas.g
                                                                                                          ov; Director TX;
                                                                                                                                                                                                                  Election complaint submitted 11/2/22 regarding
                                                                                                       Jkellogg@texasgop.or
DOC_0805452   Texas OAG   11/1/2022      Outlook Email         Incident Report      Laura Gutierrez                                                Incident Report .msg Privileged - Withhold     Investigative    potential obstruction of poll watcher in 2022
                                                                                                                  g;
                                                                                                                                                                                                                                 General Election.
                                                                                                       Electionintegrity202
                                                                                                                  2
                                                                                                       elections@sos.texas.g
                                                                                                                                                                                                                  Election complaint submitted 11/3/22 regarding
                                                                                                                 ov;         Jkellogg@texasgop.or Poll Watcher Report
DOC_0805453   Texas OAG   11/2/2022      Outlook Email       Poll Watcher Report    Laura Gutierrez                                                                     Privileged - Withhold     Investigative     potential improper voter assistance in 2022
                                                                                                       Electionintegrity202            g                   .msg
                                                                                                                                                                                                                                 General Election.
                                                                                                           2; Director TX
                                                                                                        Julie Kellogg (RNC
                                                                                                         Election Integrity
                                                                                                               Team);
                                                             POLL WATCHING                             Electionintegrity202                         POLL WATCHING
                                                             AT THE SAN JUAN                                      2;                               AT THE SAN JUAN                                                Election complaint submitted 11/2/22 regarding
DOC_0805454   Texas OAG   11/2/2022      Outlook Email        CITY LIBRARY                AI           elections@sos.texas.g                          CITY LIBRARY      Privileged - Withhold     Investigative    potential obstruction of poll watcher in 2022
                                                               (MEMORIAL) -                                      ov;                                  (MEMORIAL) -                                                               General Election.
                                                                UNETHICS                               karen@monicaforcon                            UNETHICS.msg
                                                                                                              gress.us;
                                                                                                       Jkellogg@texasgop.or
                                                                                                                  g
                                                                                                                                                        2022 POLL
                                                                                                                                                                                                                  Election complaint submitted 11/2/22 regarding
                                                                                                                                                    WATCHING SAN
DOC_0805455   Texas OAG   11/2/2022    Microsoft Word 2016                                user                                                                          Privileged - Withhold     Investigative    potential obstruction of poll watcher in 2022
                                                                                                                                                        JUAN CITY
                                                                                                                                                                                                                                 General Election.
                                                                                                                                                      LIBRARY.docx
                                                                                                                             jkellogg@texasgop.or
                                                                                                                                       g;
                                                              POLL WATCHING                                                  Electionintegrity202 POLL WATCHING
                                                                                                                                                                                                                  Election complaint submitted 11/2/22 regarding
                                                               THE EDINBURG                            hlep@tx.protectthevo            2;            THE EDINBURG
DOC_0805456   Texas OAG   11/2/2022      Outlook Email                                    AI                                                                            Privileged - Withhold     Investigative     potential improper voter assistance in 2022
                                                             ANNEX EDINBURG                                    te.com        elections@sos.texas.g ANNEX EDINBURG
                                                                                                                                                                                                                                 General Election.
                                                                    TX                                                                ov;                 TX.msg
                                                                                                                             karen@monicaforcon
                                                                                                                                    gress us
                                                                                                                                                     POLLWATCHER                                                  Election complaint submitted 11/2/22 regarding
DOC_0805457   Texas OAG   11/2/2022    Microsoft Word 2016                                user                                                            EARLY         Privileged - Withhold     Investigative     potential improper voter assistance in 2022
                                                                                                                                                       VOTING.docx                                                               General Election.




                                                                                                                  2 of 9
                                           Case 5:21-cv-00844-XR Document 747-19 Filed 09/01/23 Page 3 of 9
                                                                                 LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 19, 2023


ID Number     Custodian     Date          Application              Subject               Author                   To                 CC               Filename             Treatment             Claim                     Privilege Statement




                                                                                                          Electionintegrity2022;
                                                                                                         STAT Team: Republican
                                                                                                           Party of TX; SOS Poll
                                                                                                             Worker Training;
                                                                                                       laura.pressley.truetexasele
                                                                                                          ctions@startmail.com;
                                                                                                       paul.bettencourt@senate.te
                                                                                                        xas.gov; Donna Campbell;
                                                                                                          Gary Cutler; Sen. Jane
                                                                                                             Nelson; Bob Hall;
                                                                                                           info@danpatrick.org;
                                                                                                           info@gregabbott.com;
                                                                                                         Tedcruz Info; True Texas                 Re_ Obstruction of
                                                              Re: Obstruction of                          Project; Angela Paxton;                                                                              Election complaint submitted 11/3/22 regarding
                                                                                                                                                   Poll Watchers at
DOC_0805458   Texas OAG   11/3/2022      Outlook Email         Poll Watchers at        Charles Walts      Rep. Andy Biggs; Lucy                                      Privileged - Withhold    Investigative     potential obstruction of poll watchers in 2022
                                                                                                                  Trainor;                         Hays Co_ Gov't
                                                             Hays Co. Gov't Bldg.                                                                                                                                             General Election.
                                                                                                        bosslady1961@icloud.com;                      Bldg_.msg
                                                                                                            Dawn Buckingham;
                                                                                                        letters@empowertexans.co
                                                                                                                     m;
                                                                                                       chairmanrinaldi@texasgop.
                                                                                                         org; EveryLegalVote On
                                                                                                         Behalf of The Truth and
                                                                                                            Freedom Initiative;
                                                                                                          Catherine Engelbrecht;
                                                                                                         elections@sos.texas.gov;
                                                                                                       DonaldJTrump. com; Hays
                                                                                                               Constitutional
                                                                                                        Republicans; Susie Carter




                                                                                                            Susie Carter;
                                                                                                       bosslady1961@icloud
                                                                                                        .com; Lucy Trainor;
                                                                                                       laura.pressley.truete
                                                                                                       xaselections@startm
                                                                                                                                                                                                              Election complaint submitted 10/229/22 regarding
                                                                 Re: Great job                                 ail.com;                              Re_ Great job
DOC_0805459   Texas OAG   10/28/2022     Outlook Email                                 Sam Brannon                                                                    Privileged - Withhold   Investigative     potential obstruction of poll watchers in 2022
                                                                  everyone!!!                          Electionintegrity202                         everyone!!!.msg
                                                                                                                                                                                                                              General Election.
                                                                                                          2; Bob Hall; Sen.
                                                                                                            Jane Nelson;
                                                                                                       paul.bettencourt@se
                                                                                                       nate.texas.gov; Gary
                                                                                                                Cutler
                                                                                                                                                                                                              Election complaint submitted 10/229/22 regarding
                                                                                                                                                   TEC - Sec 33.056
DOC_0805460   Texas OAG   10/28/2022   Adobe Acrobat (PDF)                                                                                                            Privileged - Withhold   Investigative     potential obstruction of poll watchers in 2022
                                                                                                                                                     33.061.pdf
                                                                                                                                                                                                                              General Election.
                                                                                                             Bob Hall;
                                                                                                       Jacey.Jetton@house.t
                                                                                                             exas.gov;
                                                                                                        Tori.MacFarlan@Ho
                                                                                                         use.Texas.GovCc:
                                                                                                       Bryan.Hughes@senat
                                                                                                            e.texas.gov;
                                                                                                       drew.tedford@senate.
                                                                                                             texas.gov;
                                                                                                       James.Brase@senate.
                                                                                                                             Laura.Pressley.True
                                                                                                             texas.gov;
                                                                                                                             TexasElections@Star Watchers Rejected at
                                                             Watchers Rejected at                      Jane.Nelson@Senate.
                                                                                                                              tmail.com; HCR-A     Polls_ Elections                                           Election complaint submitted 11/17/22 regarding
                                                                Polls, Elections                             Texas.gov;
DOC_0805461   Texas OAG   11/16/2022     Outlook Email                                 Sam Brannon                             CARTER SUSIE;          Division_       Privileged - Withhold   Investigative    potential obstruction of poll watchers in 2022
                                                                    Division,                          Paul.Bettencourt@Se
                                                                                                                             bosslady1961@icloud     Clarification                                                           General Election.
                                                             Clarification please...                      nate.Texas.Gov;
                                                                                                                                 .com; Esther       please___.msg
                                                                                                       Charles.Schwertner@
                                                                                                                                   Schneider
                                                                                                         Senate.Texas.gov;
                                                                                                       Brian.Birdwell@Seat
                                                                                                           e.Texas.Gov;
                                                                                                       Donna.Campbell@Se
                                                                                                          nate.Texas.Gov;
                                                                                                       Electionintegrity202
                                                                                                          2; STAT Team:
                                                                                                        Republican Party of
                                                                                                                TX;
                                                                                                       secretary@sos.texas.c
                                                                                                                                                  CID Supplemental
                                                                                                                                                                                                              Election complaint submitted 11/17/22 regarding
                                                                                                                                                  Report 11.15.2022 -
DOC_0805462   Texas OAG   11/16/2022   Adobe Acrobat (PDF)                                                                                                            Privileged - Withhold   Investigative    potential obstruction of poll watchers in 2022
                                                                                                                                                         with
                                                                                                                                                                                                                             General Election.
                                                                                                                                                   Attachments.pdf
                                                                                                                                                 Case Opening Form -                                          Election complaint submitted 11/16/22 regarding
DOC_0805463   Texas OAG   11/16/2022   Adobe Acrobat (PDF)                                 RCQ                                                       2022 Harris      Privileged - Withhold   Investigative   potential election code violation in Harris County
                                                                                                                                                     County.pdf                                                         during 2022 General Election.


                                                                                                                     3 of 9
                                            Case 5:21-cv-00844-XR Document 747-19 Filed 09/01/23 Page 4 of 9
                                                                               LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 19, 2023


ID Number     Custodian     Date          Application              Subject                Author                   To                  CC                 Filename             Treatment                Claim                         Privilege Statement

                                                                                                                                                     CFS #1438750 - 2022                                                Election complaint submitted 11/15/22 regarding
DOC_0805464   Texas OAG   11/15/2022   Adobe Acrobat (PDF)                                                                                                HARRIS          Privileged - Withhold      Investigative     potential withholding of ballots in Harris County in
                                                                                                                                                       COUNTY.PDF                                                                    2022 General Election.
                                                                                                                                                     Copy of Updated 11-
                                                                                                                                                                                                                        Election complaint submitted 11/15/22 regarding
                                       Microsoft Excel 2016                                                                                          29-22 Contact List -
DOC_0805465   Texas OAG    2/2/2023                                                    Luis Delgado                                                                       Privileged - Withhold      Investigative     potential withholding of ballots in Harris County in
                                            Workbook                                                                                                   Updated 11-29-
                                                                                                                                                                                                                                     2022 General Election.
                                                                                                                                                         22(613).xlsx
                                                                                                                                                                                                                        Election complaint submitted 11/15/22 regarding
                                                                                                                                                      Narrative-Delgado
DOC_0805466   Texas OAG    3/8/2023    Microsoft Word 2016                             Luis Delgado                                                                       Privileged - Withhold      Investigative     potential withholding of ballots in Harris County in
                                                                                                                                                          1.0.docx
                                                                                                                                                                                                                                     2022 General Election.
                                                                                                                                                                                                                        Election complaint submitted 11/15/22 regarding
                                                                                                                                                      Narrative-Jenkins
DOC_0805467   Texas OAG    3/8/2023    Microsoft Word 2016                           Tramaine Jenkins                                                                     Privileged - Withhold      Investigative     potential withholding of ballots in Harris County in
                                                                                                                                                          2.0.docx
                                                                                                                                                                                                                                     2022 General Election.
                                                                                                                                                                                                                        Election complaint submitted 11/15/22 regarding
                                                                                                                                                           Records
DOC_0805468   Texas OAG   12/5/2022    Microsoft Word 2016                             Delgado, Luis                                                                      Privileged - Withhold      Investigative     potential withholding of ballots in Harris County in
                                                                                                                                                         Request.docx
                                                                                                                                                                                                                                     2022 General Election.
                                                                                                                                                                                                                        Election complaint submitted 11/15/22 regarding
DOC_0805469   Texas OAG    1/3/2023     HEIC Image File                                                                                              T Cook Reciept.heic Privileged - Withhold       Investigative     potential withholding of ballots in Harris County in
                                                                                                                                                                                                                                     2022 General Election.
                                                                                                                                                     webPass # 1438750 -                                                Election complaint submitted 11/15/22 regarding
DOC_0805470   Texas OAG   11/15/2022   Adobe Acrobat (PDF)                               Eli Garcia                                                     2022 Harris      Privileged - Withhold       Investigative     potential withholding of ballots in Harris County in
                                                                                                                                                         County.pdf                                                                  2022 General Election.
                                                              FW: ATTN: Texas                                                                         FW_ ATTN_ Texas                                                   Election complaint submitted 12/20/22 regarding
                                                                                    Electionintegrity202
DOC_0805471   Texas OAG   12/20/2022     Outlook Email         SOS Office and                                 Luis Delgado                             SOS Office and    Privileged - Withhold       Investigative     potential withholding of ballots in Harris County in
                                                                                              2
                                                               Texas AG Office                                                                       Texas AG Office.msg                                                             2022 General Election.
                                                                                                                                                      20221114_Election
                                                                                                                                                       Complaint to the                                                 Election complaint submitted 12/20/22 regarding
DOC_0805472   Texas OAG   12/20/2022   Adobe Acrobat (PDF)                             Joshua Grice                                                      Secretary of     Privileged - Withhold      Investigative     potential withholding of ballots in Harris County in
                                                                                                                                                        State_Joshua                                                                 2022 General Election.
                                                                                                                                                          Grice.pdf
                                                                                                                                                                                                                        Election complaint submitted 11/18/22 regarding
                                                               FW: Election Day     Electionintegrity202                                              FW_ Election Day
DOC_0805473   Texas OAG   12/16/2022     Outlook Email                                                        Luis Delgado                                                Privileged - Withhold      Investigative     potential withholding of ballots in Harris County in
                                                                    Issue                     2                                                          Issue.msg
                                                                                                                                                                                                                                     2022 General Election.
                                                              FW: Harris County                                                                      FW_ Harris County                                                  Election complaint submitted 11/10/22 regarding
                                                                                    Electionintegrity202
DOC_0805474   Texas OAG   12/16/2022     Outlook Email        November 8, 2022                                Luis Delgado                           20221108 Election Privileged - Withhold         Investigative     potential withholding of ballots in Harris County in
                                                                                              2
                                                              Election Problems                                                                        Problems.msg                                                                  2022 General Election.
                                                                                                                                                                                                                        Election complaint submitted 11/10/22 regarding
                                            JPEG File                                                                                                IMG_20221108_1935
DOC_0805475   Texas OAG   12/16/2022                                                                                                                                   Privileged - Withhold         Investigative     potential withholding of ballots in Harris County in
                                           Interchange                                                                                                   28828.jpg
                                                                                                                                                                                                                                     2022 General Election.
                                                                                                                                                                                                                        Election complaint submitted 11/10/22 regarding
                                            JPEG File                                                                                                IMG_20221108_2107
DOC_0805476   Texas OAG   12/16/2022                                                                                                                                   Privileged - Withhold         Investigative     potential withholding of ballots in Harris County in
                                           Interchange                                                                                                 58470_HDR.jpg
                                                                                                                                                                                                                                     2022 General Election.
                                                                                                                                                                                                                        Election complaint submitted 11/15/22 regarding
                                                              FW: Harris County     Electionintegrity202                                             FW_ Harris County
DOC_0805477   Texas OAG   12/16/2022     Outlook Email                                                        Luis Delgado                                             Privileged - Withhold         Investigative     potential withholding of ballots in Harris County in
                                                                  Election                    2                                                        Election.msg
                                                                                                                                                                                                                                     2022 General Election.
                                                                FW: Nov 8 Poll                                                                         FW_ Nov 8 Poll                                                    Election complaint submitted 11/2/22 regarding
                                                                                    Electionintegrity202     Luis Delgado;
DOC_0805478   Texas OAG   12/16/2022     Outlook Email         Voting Issues, pct                                                                     Voting Issues_ pct Privileged - Withhold       Investigative     potential withholding of ballots in Harris County in
                                                                                              2            Tramaine Jenkins
                                                                625, code 82018                                                                      625_ code 82018.msg                                                             2022 General Election.
                                                                                                                                                                                                                        Election complaint submitted 11/10/22 regarding
                                                                                    Electionintegrity202
DOC_0805479   Texas OAG   12/16/2022     Outlook Email          FW: PJ 32013                                  Luis Delgado                            FW_ PJ 32013.msg Privileged - Withhold         Investigative     potential withholding of ballots in Harris County in
                                                                                              2
                                                                                                                                                                                                                                     2022 General Election.
                                                                                                                                                                                                                        Election complaint submitted 11/10/22 regarding
                                                                                                                                                     20221201_184303145
DOC_0805480   Texas OAG    1/3/2023     HEIC Image File                                                                                                                 Privileged - Withhold        Investigative     potential withholding of ballots in Harris County in
                                                                                                                                                          _iOS.heic
                                                                                                                                                                                                                                     2022 General Election.
                                                                                                                                                                                                                        Election complaint submitted 11/10/22 regarding
                                                                                                                                                     20221201_211908471
DOC_0805481   Texas OAG    1/3/2023     HEIC Image File                                                                                                                 Privileged - Withhold        Investigative     potential withholding of ballots in Harris County in
                                                                                                                                                          _iOS.heic
                                                                                                                                                                                                                                     2022 General Election.
                                                                                                                                                                                                                        Election complaint submitted 11/10/22 regarding
                                                                                                                                                     20221201_211929062
DOC_0805482   Texas OAG    1/3/2023     HEIC Image File                                                                                                                 Privileged - Withhold        Investigative     potential withholding of ballots in Harris County in
                                                                                                                                                          _iOS.heic
                                                                                                                                                                                                                                     2022 General Election.
                                                                                                                                                                                                                        Election complaint submitted 11/10/22 regarding
                                                                                                                                                     20221201_211933085
DOC_0805483   Texas OAG    1/3/2023     HEIC Image File                                                                                                                 Privileged - Withhold        Investigative     potential withholding of ballots in Harris County in
                                                                                                                                                          _iOS.heic
                                                                                                                                                                                                                                     2022 General Election.
                                                                                                                                                                                                                        Attorney client communication between SOS and
                                                                                                              Chad Ennis;                            Email Attachment 1 -                                                 OAG regarding election complaint submitted
                                                                     RE:                                                         Kimberly Gdula;                                                       Attorney
DOC_0805484   Texas OAG   11/12/2022     Outlook Email                               Kathleen Hunker       Christopher Hilton;                               RE           Privileged - Withhold                        11/10/22 regarding potential withholding of ballots
                                                               PRIV/CONF/ACP                                                     Jacqueline Doyer                                                 Client;Investigative
                                                                                                              Adam Bitter                            PRIVCONFACP.msg                                                       in Harris County in 2022 General Election.
                                                                                                                                                                                                                                           Subsequent
                                                                                                                                                     Email Attachment 2 -
                                                              RE: Letter to HCEA
                                                                                                                                 Jacqueline Doyer;   RE Letter to HCEA                                                  Election complaint submitted 11/10/22 regarding
                                                                 from FAD re:         Tatum, Clifford
DOC_0805485   Texas OAG   11/14/2022     Outlook Email                                                        Chad Ennis         Fisbeck, Maureen       from FAD re       Privileged - Withhold      Investigative     potential withholding of ballots in Harris County in
                                                               November 2022            (Elections)
                                                                                                                                    (Elections)        November 2022                                                                 2022 General Election.
                                                                    issues
                                                                                                                                                         issues.msg
                                                                                                                                                                                                                        Election complaint submitted 11/10/22 regarding
                                                                                                                                                      Email Attachment
DOC_0805486   Texas OAG   11/15/2022   Adobe Acrobat (PDF)                               Eli Garcia                                                                       Privileged - Withhold      Investigative     potential withholding of ballots in Harris County in
                                                                                                                                                           3.1.pdf
                                                                                                                                                                                                                                     2022 General Election.
                                                                                                                                                     Email Attachment 4 -
                                                                                                                                                                                                                        Election complaint submitted 11/10/22 regarding
                                       Microsoft Excel 2016                                                                                               Notes for
DOC_0805487   Texas OAG   11/15/2022                                                    Chad Ennis                                                                        Privileged - Withhold      Investigative     potential withholding of ballots in Harris County in
                                            Workbook                                                                                                 HC(AutoRecovered).x
                                                                                                                                                                                                                                     2022 General Election.
                                                                                                                                                             lsx


                                                                                                                     4 of 9
                                            Case 5:21-cv-00844-XR Document 747-19 Filed 09/01/23 Page 5 of 9
                                                                                LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 19, 2023


ID Number     Custodian     Date          Application               Subject               Author                  To             CC        Filename             Treatment               Claim                         Privilege Statement

                                                                                                                                      Email Attachment 5 -
                                                                                                                                                                                                         Election complaint submitted 11/10/22 regarding
                                                                                                                                          Chad Ennis
DOC_0805488   Texas OAG   11/15/2022   Adobe Acrobat (PDF)                                                                                                 Privileged - Withhold     Investigative      potential withholding of ballots in Harris County in
                                                                                                                                       handwritten notes
                                                                                                                                                                                                                      2022 General Election.
                                                                                                                                         from calls.pdf
                                                                                                                                                                                                         Attorney client communication between SOS and
                                                                                                                                      Email Attachment 6 -
                                                                                                                                                                                                           OAG regarding election complaint submitted
                                                                                                                                         Jackie Doyer                                 Attorney
DOC_0805489   Texas OAG   11/15/2022   Adobe Acrobat (PDF)                                                                                                 Privileged - Withhold                        11/10/22 regarding potential withholding of ballots
                                                                                                                                       Handwritten Notes                         Client;Investigative
                                                                                                                                                                                                            in Harris County in 2022 General Election.
                                                                                                                                         from calls.pdf
                                                                                                                                                                                                                            Subsequent
                                                                                                                                                                                                         Election complaint submitted 11/10/22 regarding
                                       Microsoft Excel 2016                                                                           Email Attachment 7 -
DOC_0805490   Texas OAG   12/20/2022                                                                                                                       Privileged - Withhold     Investigative      potential withholding of ballots in Harris County in
                                            Workbook                                                                                   Problem Polls.xlsx
                                                                                                                                                                                                                      2022 General Election.
                                                                                                                                      Documents received                                                 Election complaint submitted 11/10/22 regarding
DOC_0805491   Texas OAG   2/14/2023    Adobe Acrobat (PDF)                                                                            Susan Clasen 12-6- Privileged - Withhold       Investigative      potential withholding of ballots in Harris County in
                                                                                                                                             22.pdf                                                                   2022 General Election.
                                                                                                                                      Election Day Supply
                                                                                                                                                                                                         Election complaint submitted 11/10/22 regarding
                                                                                                                                       Box Content List -
DOC_0805492   Texas OAG   12/1/2022    Adobe Acrobat (PDF)                                                                                                Privileged - Withhold      Investigative      potential withholding of ballots in Harris County in
                                                                                                                                        received 12-1-22
                                                                                                                                                                                                                      2022 General Election.
                                                                                                                                           Spears.pdf
                                                                                                                                       Election Supplies                                                 Election complaint submitted 11/10/22 regarding
DOC_0805493   Texas OAG   11/30/2022   Adobe Acrobat (PDF)                                                                             Delivery Log - C.  Privileged - Withhold      Investigative      potential withholding of ballots in Harris County in
                                                                                                                                           Lampe.pdf                                                                  2022 General Election.
                                                                                                                                                                                                         Election complaint submitted 11/10/22 regarding
                                            JPEG File                                                                                   Mccubbin Ballot
DOC_0805494   Texas OAG   12/1/2022                                                                                                                        Privileged - Withhold     Investigative      potential withholding of ballots in Harris County in
                                           Interchange                                                                                     Rec.jpg
                                                                                                                                                                                                                      2022 General Election.
                                                                                                                                                                                                         Election complaint submitted 11/10/22 regarding
                                            JPEG File                                                                                   Mccubbin Phone
DOC_0805495   Texas OAG   12/1/2022                                                                                                                        Privileged - Withhold     Investigative      potential withholding of ballots in Harris County in
                                           Interchange                                                                                      Log.jpg
                                                                                                                                                                                                                      2022 General Election.
                                                                                                                                                                                                         Election complaint submitted 11/10/22 regarding
                                            JPEG File                                                                                 Mccubbin Travel Log
DOC_0805496   Texas OAG   2/14/2023                                                                                                                       Privileged - Withhold      Investigative      potential withholding of ballots in Harris County in
                                           Interchange                                                                                     COC.jpg
                                                                                                                                                                                                                      2022 General Election.
                                                                                                                                          278. Wayne
                                                                                                                                                                                                          Election complaint regarding potential ballot
                                                                                                                                      Hamilton Complaint
DOC_0805497   Texas OAG   11/7/2022    Adobe Acrobat (PDF)                                                                                               Privileged - Withhold       Investigative       harvesting by candidate in Starr County in 2022
                                                                                                                                         Supplement -
                                                                                                                                                                                                                        General Election.
                                                                                                                                      Finance Report.pdf
                                                                                                                                          278. Wayne                                                      Election complaint regarding potential ballot
DOC_0805498   Texas OAG   11/7/2022    Adobe Acrobat (PDF)                                                                                 Hamilton        Privileged - Withhold     Investigative       harvesting by candidate in Starr County in 2022
                                                                                                                                         Complaint.pdf                                                                  General Election.
                                                                                                                                         absentee ballot                                                  Election complaint regarding potential ballot
                                        Portable Network
DOC_0805499   Texas OAG   11/9/2022                                                                                                     recieved on voter Privileged - Withhold      Investigative       harvesting by candidate in Starr County in 2022
                                        Graphics Format
                                                                                                                                      eusebio aleman.PNG                                                                General Election.
                                                                                                                                                                                                          Election complaint regarding potential ballot
                                                                                                                                      Case Opening Form -
DOC_0805500   Texas OAG   11/7/2022    Adobe Acrobat (PDF)                               Eli Garcia                                                       Privileged - Withhold      Investigative       harvesting by candidate in Starr County in 2022
                                                                                                                                        Starr Cnty22.pdf
                                                                                                                                                                                                                        General Election.
                                                                                                                                         CFS 1436674 -                                                    Election complaint regarding potential ballot
DOC_0805501   Texas OAG   11/7/2022    Adobe Acrobat (PDF)                                                                                 STARR           Privileged - Withhold     Investigative       harvesting by candidate in Starr County in 2022
                                                                                                                                         COUNTY.PDF                                                                     General Election.
                                                                                                                                                                                                          Election complaint regarding potential ballot
                                                                                                                                      evidentiary warrant
DOC_0805502   Texas OAG   2/22/2023    Microsoft Word 2016                             Michael Burner                                                     Privileged - Withhold      Investigative       harvesting by candidate in Starr County in 2022
                                                                                                                                           draft.docx
                                                                                                                                                                                                                        General Election.
                                                                                                                                                                                                          Election complaint regarding potential ballot
                                                                                                                                           evidentiary
DOC_0805503   Texas OAG   2/22/2023    Microsoft Word 2016                             Michael Burner                                                      Privileged - Withhold     Investigative       harvesting by candidate in Starr County in 2022
                                                                                                                                          warrant.docx
                                                                                                                                                                                                                        General Election.
                                                                                                                                       FW Preservation
                                                                                                                                      Letter related to the
                                                               FW: Preservation
                                                                                                                                       November 8 2022                                                    Election complaint regarding potential ballot
                                                              Letter related to the                      arodriguez@co.starr.t
DOC_0805504   Texas OAG   11/15/2022      Outlook Email                                Michael Burner                                  General Election     Privileged - Withhold    Investigative       harvesting by candidate in Starr County in 2022
                                                               November 8, 2022                                  x.us
                                                                                                                                        email filed with                                                                General Election.
                                                               General Election
                                                                                                                                            business
                                                                                                                                         affidavit.msg
                                                                                                                                                                                                          Election complaint regarding potential ballot
                                                                                                                                        OAG Letterhead
DOC_0805505   Texas OAG   11/15/2022   Microsoft Word 2016                            Velma Ferdinando                                                     Privileged - Withhold     Investigative       harvesting by candidate in Starr County in 2022
                                                                                                                                          2022.docx
                                                                                                                                                                                                                        General Election.
                                                                                                                                                                                                          Election complaint regarding potential ballot
                                                                                                                                        modesta search
DOC_0805506   Texas OAG   2/22/2023    Microsoft Word 97/98                            Diane Beckham                                                       Privileged - Withhold     Investigative       harvesting by candidate in Starr County in 2022
                                                                                                                                         warrant .doc
                                                                                                                                                                                                                        General Election.
                                                                                                                                                                                                          Election complaint regarding potential ballot
                                                                                                                                        OAG Letterhead
DOC_0805507   Texas OAG   11/18/2022   Microsoft Word 2016                            Velma Ferdinando                                                     Privileged - Withhold     Investigative       harvesting by candidate in Starr County in 2022
                                                                                                                                          2022.docx
                                                                                                                                                                                                                        General Election.
                                                                                                                                       PIN CHART FOR                                                      Election complaint regarding potential ballot
                                            Microsoft
DOC_0805508   Texas OAG   2/28/2023                                                    Michael Burner                                  STARR COUNTY Privileged - Withhold            Investigative       harvesting by candidate in Starr County in 2022
                                         PowerPoint 2016
                                                                                                                                      POWERPOINT.pptx                                                                   General Election.
                                                                                                                                                                                                          Election complaint regarding potential ballot
DOC_0805509   Texas OAG   11/7/2022    Adobe Acrobat (PDF)                               Eli Garcia                                       Referral.pdf     Privileged - Withhold     Investigative       harvesting by candidate in Starr County in 2022
                                                                                                                                                                                                                        General Election.
                                                                                                                                                                                                          Election complaint regarding potential ballot
                                                                                                                                              ROI
DOC_0805510   Texas OAG   12/21/2022   Microsoft Word 2016                             Michael Burner                                                      Privileged - Withhold     Investigative       harvesting by candidate in Starr County in 2022
                                                                                                                                      (AutoRecovered).docx
                                                                                                                                                                                                                        General Election.



                                                                                                                    5 of 9
                                           Case 5:21-cv-00844-XR Document 747-19 Filed 09/01/23 Page 6 of 9
                                                                              LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 19, 2023


ID Number     Custodian     Date          Application              Subject              Author              To           CC             Filename             Treatment              Claim                    Privilege Statement

                                                                                                                                      Teams search of                                             Election complaint regarding potential ballot
                                        Portable Network
DOC_0805511   Texas OAG   11/9/2022                                                                                                    voter listed on   Privileged - Withhold   Investigative   harvesting by candidate in Starr County in 2022
                                        Graphics Format
                                                                                                                                      complaint.PNG                                                             General Election.
                                                                                                                                                                                                  Election complaint regarding potential ballot
                                                                                                                                     THE STATE OF
DOC_0805512   Texas OAG   2/24/2023    Microsoft Word 2016                           Michael Burner                                                   Privileged - Withhold      Investigative   harvesting by candidate in Starr County in 2022
                                                                                                                                    TEXAS return.docx
                                                                                                                                                                                                                General Election.
                                                                                                                                     webPas 1436674                                               Election complaint regarding potential ballot
DOC_0805513   Texas OAG   11/7/2022    Adobe Acrobat (PDF)                             Eli Garcia                                       2022 Starr      Privileged - Withhold    Investigative   harvesting by candidate in Starr County in 2022
                                                                                                                                        County.pdf                                                              General Election.
                                                                                                                                   20221128_Completed                                             Election complaint regarding potential ballot
DOC_0805514   Texas OAG   11/28/2022   Adobe Acrobat (PDF)                                                                            by Early Voting   Privileged - Withhold    Investigative   harvesting by candidate in Starr County in 2022
                                                                                                                                        Cleric .pdf                                                             General Election.
                                                                                                                                    ALEMAN, Eusebio -                                             Election complaint regarding potential ballot
DOC_0805515   Texas OAG   11/10/2022   Adobe Acrobat (PDF)                                                                                CLEAR         Privileged - Withhold    Investigative   harvesting by candidate in Starr County in 2022
                                                                                                                                       11102022.pdf                                                             General Election.
                                                                                                                                    ALEMAN, Eusebio -                                             Election complaint regarding potential ballot
DOC_0805516   Texas OAG   11/17/2022   Adobe Acrobat (PDF)                            Keri Kagawa                                   TWC Personal Info Privileged - Withhold      Investigative   harvesting by candidate in Starr County in 2022
                                                                                                                                       11172022.pdf                                                             General Election.
                                                                                                                                    ALEMAN, Eusebio -                                             Election complaint regarding potential ballot
DOC_0805517   Texas OAG   11/17/2022   Adobe Acrobat (PDF)                            Keri Kagawa                                    TWC Wage Detail Privileged - Withhold       Investigative   harvesting by candidate in Starr County in 2022
                                                                                                                                       11172022.pdf                                                             General Election.
                                                                                                                                    ALEMAN, Eusebio                                               Election complaint regarding potential ballot
DOC_0805518   Texas OAG   11/10/2022   Adobe Acrobat (PDF)                                                                         Martinez - Whooster Privileged - Withhold     Investigative   harvesting by candidate in Starr County in 2022
                                                                                                                                       11102022.pdf                                                             General Election.
                                                                                                                                      application for a
                                                                                                                                                                                                  Election complaint regarding potential ballot
                                                                                                                                     ballot by mail for
DOC_0805519   Texas OAG   11/28/2022   Adobe Acrobat (PDF)                                                                                              Privileged - Withhold    Investigative   harvesting by candidate in Starr County in 2022
                                                                                                                                      Aleman Eusebio
                                                                                                                                                                                                                General Election.
                                                                                                                                     dated 012620.pdf
                                                                                                                                                                                                  Election complaint regarding potential ballot
DOC_0805520   Texas OAG   11/18/2022   Adobe Acrobat (PDF)                           Carly Desmond                                      CCHW.pdf         Privileged - Withhold   Investigative   harvesting by candidate in Starr County in 2022
                                                                                                                                                                                                                General Election.
                                                                                                                                                                                                  Election complaint regarding potential ballot
                                                                                                                                    DL PHOTO + INFO
DOC_0805521   Texas OAG   11/18/2022   Adobe Acrobat (PDF)                           Carly Desmond                                                  Privileged - Withhold        Investigative   harvesting by candidate in Starr County in 2022
                                                                                                                                     + HISTORY.pdf
                                                                                                                                                                                                                General Election.
                                                                                                                                   MARTINEZ Aleman,                                               Election complaint regarding potential ballot
DOC_0805522   Texas OAG   11/10/2022   Adobe Acrobat (PDF)                                                                           Eusebio - TLO     Privileged - Withhold     Investigative   harvesting by candidate in Starr County in 2022
                                                                                                                                      11102022.pdf                                                              General Election.
                                                                                                                                       Texas Voter
                                                                                                                                      Registration                                                Election complaint regarding potential ballot
DOC_0805523   Texas OAG   11/28/2022   Adobe Acrobat (PDF)                                                                           Application for   Privileged - Withhold     Investigative   harvesting by candidate in Starr County in 2022
                                                                                                                                    Eusbelio Aleman                                                             General Election.
                                                                                                                                       020714.pdf
                                                                                                                                    voter registration                                            Election complaint regarding potential ballot
DOC_0805524   Texas OAG   11/28/2022   Adobe Acrobat (PDF)                                                                             application     Privileged - Withhold     Investigative   harvesting by candidate in Starr County in 2022
                                                                                                                                       031202.pdf                                                               General Election.
                                                                                                                                   MFA-EBT archive-04-                                            Election complaint regarding potential ballot
DOC_0805525   Texas OAG   11/28/2022   Adobe Acrobat (PDF)                                                                           01-2022_08-24-    Privileged - Withhold     Investigative   harvesting by candidate in Starr County in 2022
                                                                                                                                        2022.pdf                                                                General Election.
                                                                                                                                                                                                  Election complaint regarding potential ballot
                                                                                                                                     MFA-ebtEDGE-
DOC_0805526   Texas OAG   11/28/2022   Adobe Acrobat (PDF)                                                                                             Privileged - Withhold     Investigative   harvesting by candidate in Starr County in 2022
                                                                                                                                   112222_Redacted.pdf
                                                                                                                                                                                                                General Election.
                                                                                                                                     MFA-ebtEDGE-                                                 Election complaint regarding potential ballot
DOC_0805527   Texas OAG   11/28/2022   Adobe Acrobat (PDF)                                                                              112222-pg       Privileged - Withhold    Investigative   harvesting by candidate in Starr County in 2022
                                                                                                                                     2 Redacted.pdf                                                             General Election.
                                                                                                                                     MFA-ebtEDGE-                                                 Election complaint regarding potential ballot
DOC_0805528   Texas OAG   11/28/2022   Adobe Acrobat (PDF)                                                                              112222-pg       Privileged - Withhold    Investigative   harvesting by candidate in Starr County in 2022
                                                                                                                                     3 Redacted.pdf                                                             General Election.
                                                                                                                                    FW_ 278_ Wayne
                                                               FW: 278. Wayne                         Wesley Hensley;                                                                             Election complaint regarding potential ballot
                                                                                                                                   Hamilton Complaint -
DOC_0805529   Texas OAG   11/7/2022      Outlook Email       Hamilton Complaint -    Jason Anderson   John Green; Eli                                   Privileged - Withhold    Investigative   harvesting by candidate in Starr County in 2022
                                                                                                                                    OAG Referral (1 of
                                                             OAG Referral (1 of 3)                        Garcia                                                                                                General Election.
                                                                                                                                          3).msg
                                                                                                                                       278. Wayne                                                 Election complaint regarding potential ballot
                                                                                      Information
DOC_0805530   Texas OAG   11/7/2022    Adobe Acrobat (PDF)                                                                           Hamilton - OAG     Privileged - Withhold    Investigative   harvesting by candidate in Starr County in 2022
                                                                                      Technology
                                                                                                                                      Referral.pdf                                                              General Election.
                                                                                                                                        278. Wayne
                                                                                                                                                                                                  Election complaint regarding potential ballot
                                                                                                                                    Hamilton Complaint
DOC_0805531   Texas OAG   11/7/2022    Adobe Acrobat (PDF)                                                                                             Privileged - Withhold     Investigative   harvesting by candidate in Starr County in 2022
                                                                                                                                       Supplement -
                                                                                                                                                                                                                General Election.
                                                                                                                                    Finance Report.pdf
                                                                                                                                      278. Wayne                                                  Election complaint regarding potential ballot
DOC_0805532   Texas OAG   11/7/2022    Adobe Acrobat (PDF)                                                                             Hamilton         Privileged - Withhold    Investigative    harvesting in Starr County in 2022 General
                                                                                                                                     Complaint.pdf                                                                 Election.
                                                                                                                                    FW_ 278_ Wayne
                                                               FW: 278. Wayne                         Wesley Hensley;                                                                             Election complaint regarding potential ballot
                                                                                                                                   Hamilton Complaint -
DOC_0805533   Texas OAG   11/7/2022      Outlook Email       Hamilton Complaint -    Jason Anderson   John Green; Eli                                   Privileged - Withhold    Investigative    harvesting in Starr County in 2022 General
                                                                                                                                    OAG Referral (2 of
                                                             OAG Referral (2 of 3)                        Garcia                                                                                                   Election.
                                                                                                                                         3).msg
                                                                                                                                                                                                  Election complaint regarding potential ballot
DOC_0805534   Texas OAG   11/7/2022       MPEG-4 file                                                                                 IMG_3093.MP4       Privileged - Withhold   Investigative    harvesting in Starr County in 2022 General
                                                                                                                                                                                                                   Election.




                                                                                                              6 of 9
                                           Case 5:21-cv-00844-XR Document 747-19 Filed 09/01/23 Page 7 of 9
                                                                              LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 19, 2023


ID Number     Custodian     Date          Application              Subject               Author                   To                  CC               Filename             Treatment             Claim                   Privilege Statement

                                                                                                                                                   FW_ 278_ Wayne
                                                               FW: 278. Wayne                              Wesley Hensley;                                                                                     Election complaint regarding potential ballot
                                                                                                                                                  Hamilton Complaint -
DOC_0805535   Texas OAG   11/7/2022      Outlook Email       Hamilton Complaint -    Jason Anderson        John Green; Eli                                             Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                                                                                                                                   OAG Referral (3 of
                                                             OAG Referral (3 of 3)                             Garcia                                                                                                           Election.
                                                                                                                                                        3).msg
                                                                                                                                                                                                               Election complaint regarding potential ballot
DOC_0805536   Texas OAG   11/7/2022       MPEG-4 file                                                                                               IMG_3096.MP4       Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                                                                                                                                                                                                                Election.
                                                                                                                                                                                                               Election complaint regarding potential ballot
                                                              Roma isd election                                                                    Roma isd election
DOC_0805537   Texas OAG   2/24/2023      Outlook Email                               Clarissa Alvarez      Michael Burner                                              Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                                                    site                                                                              site .msg
                                                                                                                                                                                                                                Election.
                                                                                                                                                   GARCIA, Ivonne -                                            Election complaint regarding potential ballot
DOC_0805538   Texas OAG   2/24/2023    Adobe Acrobat (PDF)                             Keri Kagawa                                                    CCH neg hit     Privileged - Withhold    Investigative   harvesting in Starr County in 2022 General
                                                                                                                                                     02242023.pdf                                                               Election.
                                                                                                                                                   GARCIA, Ivonne -                                            Election complaint regarding potential ballot
DOC_0805539   Texas OAG   2/24/2023    Adobe Acrobat (PDF)                                                                                           Clearview AI     Privileged - Withhold    Investigative   harvesting in Starr County in 2022 General
                                                                                                                                                     02242023.pdf                                                               Election.
                                                                                                                                                  GARCIA, Ivonne - N-                                          Election complaint regarding potential ballot
DOC_0805540   Texas OAG   2/24/2023    Adobe Acrobat (PDF)                             Keri Kagawa                                                    DEx neg hit     Privileged - Withhold    Investigative   harvesting in Starr County in 2022 General
                                                                                                                                                     02242023.pdf                                                               Election.
                                                                                                                                                  GARCIA, Ivonne I -                                           Election complaint regarding potential ballot
DOC_0805541   Texas OAG   2/24/2023    Adobe Acrobat (PDF)                                                                                              CLEAR         Privileged - Withhold    Investigative   harvesting in Starr County in 2022 General
                                                                                                                                                     02242023.pdf                                                               Election.
                                                                                                                                                   GARCIA, Ivonne                                              Election complaint regarding potential ballot
DOC_0805542   Texas OAG   2/24/2023    Adobe Acrobat (PDF)                             Keri Kagawa                                                   Ivette - DLIR    Privileged - Withhold    Investigative   harvesting in Starr County in 2022 General
                                                                                                                                                     02242023.pdf                                                               Election.
                                                                                                                                                   GARCIA, Ivonne
                                                                                                                                                                                                               Election complaint regarding potential ballot
                                                                                                                                                     Ivette - DLIR
DOC_0805543   Texas OAG   2/27/2023    Adobe Acrobat (PDF)                             Keri Kagawa                                                                    Privileged - Withhold    Investigative   harvesting in Starr County in 2022 General
                                                                                                                                                    supporting docs
                                                                                                                                                                                                                                Election.
                                                                                                                                                     02252023.pdf
                                                                                                                                                   GARCIA, Ivonne                                              Election complaint regarding potential ballot
DOC_0805544   Texas OAG   2/24/2023    Adobe Acrobat (PDF)                                                                                         Ivette - Whooster Privileged - Withhold     Investigative   harvesting in Starr County in 2022 General
                                                                                                                                                     02242023.pdf                                                               Election.
                                                                                                                                                   GARCIA, Ivonne -                                            Election complaint regarding potential ballot
DOC_0805545   Texas OAG   2/24/2023    Adobe Acrobat (PDF)                                                                                          FinCEN BCTRs      Privileged - Withhold    Investigative   harvesting in Starr County in 2022 General
                                                                                                                                                     02242023.pdf                                                               Election.
                                                                                                                                                   GARCIA, Ivonne -                                            Election complaint regarding potential ballot
DOC_0805546   Texas OAG   2/24/2023    Adobe Acrobat (PDF)                                                                                           FinCEN CTRs      Privileged - Withhold    Investigative   harvesting in Starr County in 2022 General
                                                                                                                                                     02242023.pdf                                                               Election.
                                                                                                                                                   GARCIA, Ivonne -                                            Election complaint regarding potential ballot
DOC_0805547   Texas OAG   2/24/2023    Adobe Acrobat (PDF)                                                                                           FinCEN SARs      Privileged - Withhold    Investigative   harvesting in Starr County in 2022 General
                                                                                                                                                     02242023.pdf                                                               Election.
                                                                                                                                                    HHSC Request                                               Election complaint regarding potential ballot
DOC_0805548   Texas OAG   2/24/2023    Microsoft Word 2016                           Xochitl Colarusso                                              CX7509340471      Privileged - Withhold    Investigative   harvesting in Starr County in 2022 General
                                                                                                                                                     GARCIA.docx                                                                Election.
                                                                                                                                                  GARCIA, Ivonne I -                                           Election complaint regarding potential ballot
DOC_0805549   Texas OAG   2/24/2023    Adobe Acrobat (PDF)                             Keri Kagawa                                                TWC Claims neg hit Privileged - Withhold     Investigative   harvesting in Starr County in 2022 General
                                                                                                                                                     02242023.pdf                                                               Election.
                                                                                                                                                  GARCIA, Ivonne I -                                           Election complaint regarding potential ballot
DOC_0805550   Texas OAG   2/24/2023    Adobe Acrobat (PDF)                             Keri Kagawa                                                TWC Payments neg Privileged - Withhold       Investigative   harvesting in Starr County in 2022 General
                                                                                                                                                   hit 02242023.pdf                                                             Election.
                                                                                                                                                  GARCIA, Ivonne I -                                           Election complaint regarding potential ballot
DOC_0805551   Texas OAG   2/24/2023    Adobe Acrobat (PDF)                             Keri Kagawa                                                    TWC Profile     Privileged - Withhold    Investigative   harvesting in Starr County in 2022 General
                                                                                                                                                     02242023.pdf                                                               Election.
                                                                                                                                                  GARCIA, Ivonne I -                                           Election complaint regarding potential ballot
DOC_0805552   Texas OAG   2/24/2023    Adobe Acrobat (PDF)                             Keri Kagawa                                                 TWC Wage Detail Privileged - Withhold       Investigative   harvesting in Starr County in 2022 General
                                                                                                                                                     02242023.pdf                                                               Election.
                                                                                                                                                                                                               Election complaint regarding potential ballot
                                                                                                                                                      Encrypted
DOC_0805553   Texas OAG   11/28/2022     Internet HTML                                                                                                                 Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                                                                                                                                     Message.htm
                                                                                                                                                                                                                                Election.
                                                               [ENCRYPTED]                                                                        ENCRYPTED Texas                                              Election complaint regarding potential ballot
                                                                                                         oig_gi@hhsc.state.tx.
DOC_0805554   Texas OAG   11/22/2022     Outlook Email         Texas Attorney          Keri Kagawa                               Michael Burner    Attorney General's Privileged - Withhold    Investigative   harvesting in Starr County in 2022 General
                                                                                                                 us
                                                             General's Office RFI                                                                    Office RFI.msg                                                             Election.
                                                                                                                                                                                                               Election complaint regarding potential ballot
                                                                                                                                                    HHSC Request
DOC_0805556   Texas OAG   11/22/2022   Microsoft Word 2016                           Xochitl Colarusso                                                              Privileged - Withhold      Investigative    harvesting in Starr County in 2022 General
                                                                                                                                                  CX7509340471.docx
                                                                                                                                                                                                                                 Election.
                                                                                                                                                                                                               Election complaint regarding potential ballot
                                                                                                                                                  MORENO, Angelina -
DOC_0805557   Texas OAG   12/15/2022   Adobe Acrobat (PDF)                             Keri Kagawa                                                                   Privileged - Withhold     Investigative   harvesting in Hidalgo County in 2022 General
                                                                                                                                                   CCH 12152022.pdf
                                                                                                                                                                                                                                 Election.
                                                                                                                                                  MORENO, Angelina -                                           Election complaint regarding potential ballot
DOC_0805558   Texas OAG   12/15/2022   Adobe Acrobat (PDF)                                                                                             CLEAR          Privileged - Withhold    Investigative   harvesting in Hidalgo County in 2022 General
                                                                                                                                                    12152022.pdf                                                                 Election.
                                                                                                                                                  MORENO, Angelina -                                           Election complaint regarding potential ballot
DOC_0805559   Texas OAG   12/15/2022   Adobe Acrobat (PDF)                             Keri Kagawa                                                   Hidalgo CAD      Privileged - Withhold    Investigative   harvesting in Hidalgo County in 2022 General
                                                                                                                                                    12152022.pdf                                                                 Election.
                                                                                                                                                  MORENO, Angelina -                                           Election complaint regarding potential ballot
DOC_0805560   Texas OAG   12/19/2022   Adobe Acrobat (PDF)                             Keri Kagawa                                                   TDL profile      Privileged - Withhold    Investigative   harvesting in Hidalgo County in 2022 General
                                                                                                                                                    12172022.pdf                                                                 Election.
                                                                                                                                                  MORENO, Angelina -                                           Election complaint regarding potential ballot
DOC_0805561   Texas OAG   12/19/2022   Adobe Acrobat (PDF)                             Keri Kagawa                                                TDL supporting docs Privileged - Withhold    Investigative   harvesting in Hidalgo County in 2022 General
                                                                                                                                                    12172022.pdf                                                                 Election.



                                                                                                                    7 of 9
                                            Case 5:21-cv-00844-XR Document 747-19 Filed 09/01/23 Page 8 of 9
                                                                       LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 19, 2023


ID Number     Custodian     Date          Application        Subject           Author             To              CC              Filename             Treatment              Claim                   Privilege Statement

                                                                                                                            MORENO, Angelina                                               Election complaint regarding potential ballot
DOC_0805562   Texas OAG   12/20/2022   Adobe Acrobat (PDF)                   Keri Kagawa                                        Photo Lineup    Privileged - Withhold      Investigative   harvesting in Hidalgo County in 2022 General
                                                                                                                                12202022.pdf                                                                 Election.
                                                                                                                            MORENO, Angelina                                               Election complaint regarding potential ballot
DOC_0805563   Texas OAG   12/15/2022   Adobe Acrobat (PDF)                   Keri Kagawa                                           S - DLIR     Privileged - Withhold      Investigative   harvesting in Hidalgo County in 2022 General
                                                                                                                                12152022.pdf                                                                 Election.
                                                                                                                            MORENO, Angelina                                               Election complaint regarding potential ballot
DOC_0805564   Texas OAG   12/15/2022   Adobe Acrobat (PDF)                                                                     Salinas - N-DEx  Privileged - Withhold      Investigative   harvesting in Hidalgo County in 2022 General
                                                                                                                                12152022.pdf                                                                 Election.
                                                                                                                            MORENO, Angelina -                                             Election complaint regarding potential ballot
DOC_0805565   Texas OAG   12/15/2022   Adobe Acrobat (PDF)                                                                       Clearview AI   Privileged - Withhold      Investigative   harvesting in Hidalgo County in 2022 General
                                                                                                                                12152022.pdf                                                                 Election.
                                                                                                                            MORENO, Angelina -                                             Election complaint regarding potential ballot
DOC_0805566   Texas OAG   12/15/2022   Adobe Acrobat (PDF)                   Keri Kagawa                                     Clearview AI Insta Privileged - Withhold      Investigative   harvesting in Hidalgo County in 2022 General
                                                                                                                              hit 01172019.pdf                                                               Election.
                                                                                                                            MORENO, Angelina -                                             Election complaint regarding potential ballot
                                        Portable Network
DOC_0805567   Texas OAG   12/15/2022                                                                                         Clearview AI Insta Privileged - Withhold      Investigative   harvesting in Hidalgo County in 2022 General
                                        Graphics Format
                                                                                                                             hit 01172019.PNG                                                                Election.
                                                                                                                            MORENO, Angelina -                                             Election complaint regarding potential ballot
DOC_0805568   Texas OAG   12/15/2022    Progressive JPEG                                                                     Clearview AI Insta Privileged - Withhold      Investigative   harvesting in Hidalgo County in 2022 General
                                                                                                                              hit 04182021.jpeg                                                              Election.
                                                                                                                            MORENO, Angelina -                                             Election complaint regarding potential ballot
DOC_0805569   Texas OAG   12/15/2022   Adobe Acrobat (PDF)                   Keri Kagawa                                     Clearview AI Insta Privileged - Withhold      Investigative   harvesting in Hidalgo County in 2022 General
                                                                                                                              hit 04182021.pdf                                                               Election.
                                                                                                                            MORENO, Angelina -                                             Election complaint regarding potential ballot
DOC_0805570   Texas OAG   12/15/2022    Progressive JPEG                                                                     Clearview AI Insta Privileged - Withhold      Investigative   harvesting in Hidalgo County in 2022 General
                                                                                                                              hit 08142015.jpeg                                                              Election.
                                                                                                                            MORENO, Angelina -                                             Election complaint regarding potential ballot
DOC_0805571   Texas OAG   12/15/2022   Adobe Acrobat (PDF)                   Keri Kagawa                                     Clearview AI Insta Privileged - Withhold      Investigative   harvesting in Hidalgo County in 2022 General
                                                                                                                              hit 08142015.pdf                                                               Election.
                                                                                                                            MORENO, Angelina -                                             Election complaint regarding potential ballot
                                        Portable Network
DOC_0805572   Texas OAG   12/15/2022                                                                                         Clearview AI Insta Privileged - Withhold      Investigative   harvesting in Hidalgo County in 2022 General
                                        Graphics Format
                                                                                                                              hit unk date.PNG                                                               Election.
                                                                                                                            MORENO, Angelina                                               Election complaint regarding potential ballot
DOC_0805574   Texas OAG   12/15/2022   Adobe Acrobat (PDF)                   Keri Kagawa                                       S - TWC Profile  Privileged - Withhold      Investigative   harvesting in Hidalgo County in 2022 General
                                                                                                                                12152022.pdf                                                                 Election.
                                                                                                                            MORENO, Angelina                                               Election complaint regarding potential ballot
DOC_0805575   Texas OAG   12/15/2022   Adobe Acrobat (PDF)                   Keri Kagawa                                    S - TWC Wage Detail Privileged - Withhold      Investigative   harvesting in Hidalgo County in 2022 General
                                                                                                                                12152022.pdf                                                                 Election.
                                                                                                                                                                                           Election complaint regarding potential ballot
                                                                                                                                  Report of
DOC_0805578   Texas OAG    3/3/2023    Microsoft Word 2016                  Michael Burner                                                        Privileged - Withhold    Investigative    harvesting in Starr County in 2022 General
                                                                                                                             Investigation 1.docx
                                                                                                                                                                                                             Election.
                                                                                                                                   Report of
                                                                                                                                                                                           Election complaint regarding potential ballot
                                                                                                                                Investigation 3
DOC_0805579   Texas OAG    3/7/2023    Microsoft Word 2016                  Michael Burner                                                         Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                                                                                                              interview of Debbie
                                                                                                                                                                                                            Election.
                                                                                                                                  Garza.docx
                                                                                                                                    report of
                                                                                                                             investigation 4 Starr
                                                                                                                                                                                           Election complaint regarding potential ballot
                                                                                                                                County Election
DOC_0805580   Texas OAG    3/7/2023    Microsoft Word 2016                  Michael Burner                                                         Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                                                                                                                  records and
                                                                                                                                                                                                            Election.
                                                                                                                             interview of Aleman
                                                                                                                                     .docx
                                                                                                                                                                                           Election complaint regarding potential ballot
                                                                                                                              ROI 2 interview of
DOC_0805581   Texas OAG    3/3/2023    Microsoft Word 2016                  Michael Burner                                                         Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                                                                                                               Hernandez .docx
                                                                                                                                                                                                            Election.
                                                                                                                                hand written
                                                                                                                                                                                           Election complaint regarding potential ballot
                                                                                                                              interview notes of
DOC_0805582   Texas OAG    3/7/2023    Adobe Acrobat (PDF)                                                                                         Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                                                                                                                Debbie Garza
                                                                                                                                                                                                            Election.
                                                                                                                                interview.pdf
                                                                                                                             Sgt Michael Burner
                                                                                                                                                                                           Election complaint regarding potential ballot
                                                                                                                              interview notes of
DOC_0805583   Texas OAG    3/7/2023    Adobe Acrobat (PDF)                                                                                         Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                                                                                                              Yvette Hernandez
                                                                                                                                                                                                            Election.
                                                                                                                                     .pdf
                                                                                                                              ROMA ELDERLY
                                                                                                                                                                                           Election complaint regarding potential ballot
                                                                                                                                NUTRITION
DOC_0805584   Texas OAG   11/10/2022   Adobe Acrobat (PDF)                                                                                         Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                                                                                                             CENTER - CLEAR
                                                                                                                                                                                                            Election.
                                                                                                                                11102022.pdf
                                                                                                                              ROMA ELDERLY
                                                                                                                                                                                           Election complaint regarding potential ballot
                                                                                                                                NUTRITION
DOC_0805585   Texas OAG   11/10/2022   Adobe Acrobat (PDF)                                                                                         Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                                                                                                               CENTER - TLO
                                                                                                                                                                                                            Election.
                                                                                                                                11102022.pdf
                                                                                                                              ROMA ELDERLY
                                                                                                                                                                                           Election complaint regarding potential ballot
                                                                                                                                NUTRITION
DOC_0805586   Texas OAG   11/10/2022   Adobe Acrobat (PDF)                                                                                     Privileged - Withhold       Investigative   harvesting in Starr County in 2022 General
                                                                                                                             CENTER - Whooster
                                                                                                                                                                                                            Election.
                                                                                                                               11102022.pdf
                                                                                                                                                                                           Election complaint regarding potential ballot
DOC_0805588   Texas OAG    1/9/2023      Text - 7-Bit File                                                                        notes.txt        Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                                                                                                                                                                                            Election.
                                                                                                                                                                                           Election complaint regarding potential ballot
DOC_0805589   Texas OAG   12/13/2022   Adobe Acrobat (PDF)                                                                    REJECTED 1.pdf       Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                                                                                                                                                                                            Election.


                                                                                                   8 of 9
                                            Case 5:21-cv-00844-XR Document 747-19 Filed 09/01/23 Page 9 of 9
                                                                        LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 19, 2023


ID Number     Custodian     Date          Application         Subject           Author             To              CC             Filename             Treatment              Claim                   Privilege Statement

                                                                                                                                                                                           Election complaint regarding potential ballot
DOC_0805590   Texas OAG   12/13/2022   Adobe Acrobat (PDF)                                                                     REJECTED 2.pdf      Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                                                                                                                                                                                            Election.
                                                                                                                                                                                           Election complaint regarding potential ballot
DOC_0805591   Texas OAG   12/29/2022   Adobe Acrobat (PDF)                                                                    REJECTED 3 cor.pdf Privileged - Withhold     Investigative   harvesting in Starr County in 2022 General
                                                                                                                                                                                                            Election.
                                                                                                                                                                                           Election complaint regarding potential ballot
DOC_0805592   Texas OAG   12/13/2022   Adobe Acrobat (PDF)                                                                     REJECTED 3.pdf      Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                                                                                                                                                                                            Election.
                                                                                                                                                                                           Election complaint regarding potential ballot
DOC_0805593   Texas OAG   12/29/2022   Adobe Acrobat (PDF)                                                                    REJECTED 4 cor.pdf Privileged - Withhold     Investigative   harvesting in Starr County in 2022 General
                                                                                                                                                                                                            Election.
                                                                                                                                                                                           Election complaint regarding potential ballot
DOC_0805594   Texas OAG   12/13/2022   Adobe Acrobat (PDF)                                                                     REJECTED 4.pdf      Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                                                                                                                                                                                            Election.
                                                                                                                                                                                           Election complaint regarding potential ballot
                                                                                                                                     ROI
DOC_0805595   Texas OAG    1/5/2023    Microsoft Word 2016                   Michael Burner                                                       Privileged - Withhold    Investigative   harvesting in Starr County in 2022 General
                                                                                                                             (AutoRecovered).docx
                                                                                                                                                                                                            Election.
                                                                                                                               Starr Co Rejected                                           Election complaint regarding potential ballot
                                       Microsoft Excel 2016
DOC_0805596   Texas OAG   2/13/2023                                           Keri Kagawa                                      Ballots 2022 Gen    Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                            Workbook
                                                                                                                                 Election.xlsx                                                              Election.
                                                                                                                                                                                           Election complaint regarding potential ballot
DOC_0805597   Texas OAG   11/18/2022   Adobe Acrobat (PDF)                   Carly Desmond                                        CCHW.pdf         Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                                                                                                                                                                                            Election.
                                                                                                                                                                                           Election complaint regarding potential ballot
                                                                                                                              DL PHOTO + INFO
DOC_0805598   Texas OAG   11/18/2022   Adobe Acrobat (PDF)                   Carly Desmond                                                    Privileged - Withhold        Investigative   harvesting in Starr County in 2022 General
                                                                                                                               + HISTORY.pdf
                                                                                                                                                                                                            Election.
                                                                                                                               TX PZY4049 2016                                             Election complaint regarding potential ballot
DOC_0805599   Texas OAG   11/10/2022   Adobe Acrobat (PDF)                                                                     Lincoln - CLEAR     Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                                                                                                                 11102022.pdf                                                               Election.
                                                                                                                               VELA, Modesta -                                             Election complaint regarding potential ballot
DOC_0805600   Texas OAG   11/10/2022   Adobe Acrobat (PDF)                                                                         CLEAR           Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                                                                                                                 11102022.pdf                                                               Election.
                                                                                                                                                                                           Election complaint regarding potential ballot
                                                                                                                               VELA, Modesta -
DOC_0805601   Texas OAG   11/10/2022   Adobe Acrobat (PDF)                                                                                         Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                                                                                                               TLO 11102022.pdf
                                                                                                                                                                                                            Election.
                                                                                                                               VELA, Modesta -                                             Election complaint regarding potential ballot
DOC_0805602   Texas OAG   11/17/2022   Adobe Acrobat (PDF)                    Keri Kagawa                                     TWC Personal Info    Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                                                                                                                11172022.pdf                                                                Election.
                                                                                                                               VELA, Modesta -                                             Election complaint regarding potential ballot
DOC_0805603   Texas OAG   11/17/2022   Adobe Acrobat (PDF)                    Keri Kagawa                                     TWC Wage Detail      Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                                                                                                                11172022.pdf                                                                Election.
                                                                                                                               VELA, Modesta -                                             Election complaint regarding potential ballot
DOC_0805604   Texas OAG   11/10/2022   Adobe Acrobat (PDF)                                                                        Whooster         Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                                                                                                                11102022.pdf                                                                Election.
                                                                                                                                                                                           Election complaint regarding potential ballot
                                        Portable Network
DOC_0805614   Texas OAG   11/28/2022                                                                                             image001.png      Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                        Graphics Format
                                                                                                                                                                                                            Election.
                                                                                                                                                                                           Election complaint regarding potential ballot
                                        Portable Network
DOC_0805615   Texas OAG   11/28/2022                                                                                             image002.png      Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                        Graphics Format
                                                                                                                                                                                                            Election.
                                                                                                                                                                                           Election complaint regarding potential ballot
                                        Portable Network
DOC_0805616   Texas OAG   11/28/2022                                                                                             image003.png      Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                        Graphics Format
                                                                                                                                                                                                            Election.
                                                                                                                                                                                           Election complaint regarding potential ballot
                                        Portable Network
DOC_0805619   Texas OAG   11/28/2022                                                                                             image006.png      Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                        Graphics Format
                                                                                                                                                                                                            Election.
                                                                                                                                                                                           Election complaint regarding potential ballot
                                        Portable Network
DOC_0805620   Texas OAG   11/28/2022                                                                                             image007.png      Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                        Graphics Format
                                                                                                                                                                                                            Election.
                                                                                                                                                                                           Election complaint regarding potential ballot
                                        Portable Network
DOC_0805621   Texas OAG   11/28/2022                                                                                             image008.png      Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                        Graphics Format
                                                                                                                                                                                                            Election.
                                                                                                                                                                                           Election complaint regarding potential ballot
                                        Portable Network
DOC_0805622   Texas OAG   11/28/2022                                                                                             image009.png      Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                        Graphics Format
                                                                                                                                                                                                            Election.
                                                                                                                                                                                           Election complaint regarding potential ballot
                                        Portable Network
DOC_0805623   Texas OAG   11/28/2022                                                                                             image010.png      Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                        Graphics Format
                                                                                                                                                                                                            Election.
                                                                                                                                 278. Wayne                                                Election complaint regarding potential ballot
                                                                              Information
DOC_0805733   Texas OAG    3/9/2023    Adobe Acrobat (PDF)                                                                      Hamilton - OAG     Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                                                              Technology
                                                                                                                                 Referral.pdf                                                               Election.
                                                                                                                                                                                           Election complaint regarding potential ballot
DOC_0805734   Texas OAG    3/9/2023    Adobe Acrobat (PDF)                     Eli Garcia                                      SOS Referral.pdf    Privileged - Withhold   Investigative   harvesting in Starr County in 2022 General
                                                                                                                                                                                                            Election.




                                                                                                    9 of 9
